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        EXHIBIT
          "A"
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                                    •                                             •e
                                      REAL ESTATE LIEN NOTE                                                         ~("
                                                                                    JANUARY         9   2001
                                                                                                        2 0 004.
                                                                                                              1~~
        $149,200.00
        $149,200,00                               LAREDO, TEXAS                                         ZOOOI E
                                                                                 lilt<tEJ\ttJttR _JL_,, x000/
                FOR VALUE RECEIVED, ROSA MARIA GONZALEZ, as Maker hereby
        unconditionally promise to pay to the order of SOUTH TEXAS NATIONAL BANK OF
        LAREDO at its office in the City of Laredo, Webb County, Texas, the -principal
                                                                                    principal sum of ONE
        HUNDRED FORTY-NINE THOUSAND TWO HUNDRED AND NO/100THS                                     NO/l00THS
        ($149,200.00) DOLLARS, in the legal and lawful money of the United States of America, with
                                                                        ail amounts advanced from the date
        interest thereon, calculated on the basis of a 365 day year, on all
        of each advance until maturity at the annual rate equal to NINE AND NINE-TENTHS (9.90%)
        PERCENT per annum. Notwithstanding the foregoing, the interest rate on this Note shall never
        exceed the maximum rate permitted by Texas Usury Laws or preemptive Federal Law, if any,
        applicable to this loan.
        applicable'to
                                                   July
                Accrued interest only is due on
        due and payable in monthly installments
                                                  olYJJ:&1_9_,
                                                    ,Irin'e/ 9 , 2001, thereafter principal and interest is
                                        instaUments of ONE THOUSAND FOUR HUNDRED THIRTY
               25/tgosin ($1,430.25) DOLLARS (or more), each. The first installment is payable on
        AND-25/IQQTlJ~l$1,430,2S)
        AND
                                                                                                                    s··\:.
                                                                                                                        IN!)•.
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                                                                                                                         ,4),,


                   1iKJ __
        or before Yoy               2001 and the rest are payable on or before the -2.1h_
                             99_,, 2001
                                         51.1 ly ,
                                                                                         9th day of each "PoNE   -S-~/i
        succeeding month until NW luhWJugy    9y 2021, when all unpaid principal and accrued
                                                                                      accr11ec..l interest shall        E
                 due.· Accrued interest on the unpaid balance will be deducted from each installment first,
        become due.
        and the remainder will be applied to payment of principal. Interest shall accrue on all past due
        principal and interest at the maximum rate allowable by law.

                  If the Note Holder has not received the full amount of any monthly payment by the end of
         ten calendar days after the date it is due, II will pay a late charge to the Note Holder. The amount
       · of the charge will be FIVE (5.00%)
                                       (5 .00%) PERCENT of my overdue payment of principal and interest.
          I will pay this late charge promptly but only once on the same installment.

               This note represents aa master note upon which periodic draws or advancements . may be
        made for the purpose of interim construction financing of improvements to lo the real property
        described herein and interest shall accrue on each advancement made from the date of such
        advancement until maturity.

                                         MATURJTY.
              THIS LOAN IS PAYABLE AT MATURITY.     THE BANK IS UNDER NO
        OBLIGATION TO REFINANCE THE LOAN AT THAT TIME. YOU WILL THEREFORE
        BE REQUIRED TO MAKE PAYMENT OUT OF OTHER ASSETS YOU MAY OWN, OR
        YOU WILL HAVE TO FIND A A LENDER WILLING TO LEND YOU THE MONEY AT
        PREVAILING MARKET RATES, WHICH MAY BE CONSIDERABLY HIGHER THAN
        THE INTEREST RATE ON THIS
                             THJS LOAN.
                                  LOAN .

              This note is secured by a deed of trust lien created by a deed of trust of even date from
        Maker to DAVIDE,
                 DAVID E, PUIG, Trustee, which covers the following real property:


                        THE SURFACE ESTATE ONLY IN AND TO LOT TWENTY-
                        NINE (29), BLOCK TWO (2), SALINAS KEY SUBDIVISION,
                        PHASE I, SITUATED IN THE CITY OF LAREDO, WEBB
                        COUNTY, TEXAS, ACCORDING TO PLAT THEREOF
                        RECORDED IN VOLUME 10, PAGE 74, PLAT RECORDS
                        OF WEBB COUNTY, TEXAS.

               It is especially agreed that if default shall be made in any payment due hereon, of either
       principal or interest, or if there is a default in any of the terms, covenants, agreements,
       conditions or provisions contained in any instrument or document given to secure this Note, or  or
       should any maker, endorser, surety or guarantor hereof become insolvent or commit an act of
       bankruptcy or make an assignment for the benefit of creditors or authorize the filing fifing of a
       voluntary petition in bankruptcy, or should a receiver of any of their property be appointed, or
       should involuntary bankruptcy proceedings be filed or threatened against any maker, endorser,
       surety or guarantor hereof, then in any such event, at the option of Payee or any legal holder
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        hereof at any time thereafter, the unpaid prirn<ipai
                                                                                •
                                                  principal balance of this Note, and all
                                                                                      alt accrued interest
        shall at once become due and payable and shall bear interest from the date of such default or
        event (whichever occurs first) until paid at the maximum interest rate permitted by Federal or
        State of Texas Law, whichever applicable.

                      the intention of the parties hereto to comply with the usury laws of the State of Texas
                It is the,
       and of the United States of America. The parties hereto do not intend to contract for, charge or
       receive any interest or other charge which is usurious, and by the execution of this Note, Makers
       agree that SOUTH TEXAS NATIONAL BANK OF LAREDO has no such intent. This Note
       and all agreements between Makers and SOUTH TEXAS NATIONAL BANK OF LAREDO or
       the holder hereof, which are now existing or hereafter arising, whether written or oral, are
                            limiled so that in no event whatsoever, whether by reason of acceleration of
       hereby expressly limited
       maturity hereof, or otherwise, shall the amount paid, or agreed to be paid, to SOUTH TEXAS
       NATIONAL BANK OF LAREDO or any legal holder hereof for the use, forbearance or
       detention of the money to be due hereunder or otherwise, or for the payment
                                                                                 paythent or performance of
       any covenant or obligation contained herein or in any other document evidencing, securing, or
       pertaining to the indebtedness evidenced hereby, exceed the maximum rate allowed by law. If
       from any circumstance whatsoever fulfillment of any provisions hereof or other document, at the
       time performance of such provisions shall be due, shall involve transcending the limits of validity
       prescribed by law, then, ipso facto, the obligation to be fulfilled shall be reduced to the limit
                                                                                                      limit of
       such validity, and if from any such circumstances SOUTH TEXAS NATIONAL BANK of
       LAREDO or    ·or any legal holder shall ever receive as interest or otherwise an
                                                                                      aa amount which will
       exceed the maximum rate allowed by law, such amount which would be excessive interest shall
       be applied to the reduction of the principal amount owing hereunder and not to the payment of
       interest, or if such excessive interest exceeds the unpaid balance of principal hereof, such excess
       shall be refunded to Maker. All sums paid and agreed to be paid to SOUTH TEXAS
       NATIONAL BANK OF LAREDO or any legal holder for use, forbearance or detention of the
       indebtedness of Maker shall, to the extent permitted by applicable law, be amortized, prorated,
       allocated, and spread throughout the whole terms of such indebtedness so that the actual rate of
       interest on account of such indebtedness is uniform throughout the term thereof. The terms and
       provisions of this paragraph_                                                           Note.
                            paragraph shall control and supersede any other provision of this Note,

              The Makers hereof may at any time pay the full amount or any part of this Note, without
       the payment of any penalty or fee and all payments hereunder, whether designated as payments of
                    Interest, shall be applied first to the payment of accrued interest, the balance to
       principal or interest,
       principal.

               If this Note is not paid at maturity, however, such maturity may be brought about, and
       same is placed in the hands of any attorney for collection or if collection by suit or through
       bankruptcy, probate, receivership or other legal or judicial proceedings, the Maker hereof agrees
       to pay reasonable costs of collection and reasonable attorney's fees,
                                                                       fees.

               Each Maker and all sureties, endorsers and guarantors of this Note, and each party
       hereafter assuming or otherwise becoming liable hereon (i) waive demand, presentment for
       payment, notice of nonpayment, notices of intention to accelerate maturity, protest, notice of
       protest and all other notices, filing of suit diligence in collecting this Note or enforcing any of the
       security hereof, (ii) agree to any substitution, exchange or release of any such security or the
       release of any party primarily or secondarily liable hereon, (iii) agree that the Payee or other
       holder hereof shall not be required first to institute suit or exhaust its remedies hereon against the
       Makers or others liable or to become liable hereon or to enforce its rights against any security
       herefor in order to enforce payment of this Note by it,'     it,· and (iv) consent to any extension or
       postponement of time of payment of this Note and to any other indulgence with respect hereto
       without notice thereof to any of them.

                Any check, draft, motley
                                    money order, or other instrument given in payment of all or any
       portion hereof may be accepted by the Payee or any other holder hereof and handled in collection
       in the customary manner, but theth~ same shall not constitute payment hereunder or diminish any
       rights of the Payee or any other holder hereof, except to the extent that actual cash proceeds of
       such instrument are unconditionally received by the Payee or any other holder hereof and applied
       to this indebtedness as herein provided.
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               Upon default, it is further agreed that the Payee or any legal holder shall have aII first lien
       on all deposits and on the sums at any time credited by or due from the Payee or any legal holder
       hereof to any maker, endorser, surety or guarantor hereof as collateral security for the payment
       of this Note, and the Payee or other holder hereof, at its option, may at any time, without notice
                         liabiHty, hold all or any part of any such deposits or other sums until all sums
       and without any liability,
       owing on this note have been paid in full and/or apply or set off all or any part of any such
       deposits of other sums credited by or due from the Payee or any legal hereof to or against any
       sums due on this Note in any manner and in any order of preference which die    tbe Payee or other
       legal holder hereof, at its sole discretion, chooses.
                                                    chooses .

              If any payment of principal or interest on this note shall become due on a Saturday,
              If
       Sunday, or public holiday under the laws of the State of Texas on which the Payee is not open for
       business, such payment shall be made on the next succeeding business day and such extension of
       time shall in such case be included in computing interest in connection with such payment.

              This note may not be assumed by any person(s), partnership, corporation, organization or
       an other entity without the express written consent of the Holder of this note.

                Sale or conveyance, whether in part or in full, and whether of legal or equitable title, of
                              property shall cause this Note at the option of the holder hereof, to mature in
       the herein described property
       its entirety, both as to principal and interest.




                                                                               A.GONZALEZ
                                                                               A. GONZALEZ           •


                 WR1TIEN LOAN AGREEMENT REPRES NTS THE FINAL AGREEMENT
            THIS WRITTEN
       BETWEEN THE PARTIES AND MAY NOT BE CONTRADICTED BY EVIDENCE OF
                                   Sl,JBSEQUENT ORAL AGREEMENTS OF THE
       PRIOR, CONTEMPORANEOUS OR SUBSEQUENT
       PARTIES.
       PARTIES,

            THERE ARE
                   . RE NO UNWRITTEN.@···/GREEMENTS
                   A                   'AGREEMENTS BETWEEN THE PARTIES,
                                                               PARTlES.
              ~AijQ~RX..
               ,Aga k,
              0-               2001
                               2001
       DATE: DE'<ZEMDER
             DY            9
                           9  , 2')00.
                              ,2400.
                                ---              4.
                                                 +~RE
                                                  one
       DEBTOR(S) OR OBLIGOR(S):                                   LENDER:·
                                                                  LENDER: '

                                                                  SOUTH TEXAS NATIONAL BANK
                                                                  OF LAREDO



                 ARIA GONZALEZ                                    ~~~
                                                                  B

                                                                  Title:
                                                                  Title:   SENIOR VlCE
                                                                                      .1••••


                                                                                DA p. JIMENEZ
                                                                                       PRESID:
                                                                                  VICE PRESIDENT




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                                                  Real BMW        Nole
                                                       Esmte Lien Note

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